Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 1 of 21 PageID#
                                      175




                   EXHIBIT A
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 2 of 21 PageID#
                                      176




                                       1
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 3 of 21 PageID#
                                      177




                                       2
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 4 of 21 PageID#
                                      178




                                       3
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 5 of 21 PageID#
                                      179




                                       4
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 6 of 21 PageID#
                                      180




                                       5
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 7 of 21 PageID#
                                      181




                                       6
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 8 of 21 PageID#
                                      182




                                       7
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 9 of 21 PageID#
                                      183




                                       8
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 10 of 21 PageID#
                                      184




                                       9
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 11 of 21 PageID#
                                      185




                                       10
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 12 of 21 PageID#
                                      186




                                       11
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 13 of 21 PageID#
                                      187




                                       12
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 14 of 21 PageID#
                                      188




                                       13
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 15 of 21 PageID#
                                      189




                                       14
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 16 of 21 PageID#
                                      190




                                       15
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 17 of 21 PageID#
                                      191



                                                          23 March 2025
Greetings Judge Jackson,

The purpose of this letter is to document my experience with
Colonel (Ret) Mike Henry.
I am a Methodist pastor and a retired major of infantry with
twenty-four years of enlisted and commissioned service.
Colonel Henry and I first met in 2009, at the Main Post Chapel
at Fort Benning, Georgia. My mentor, Colonel (Ret) Jan Beer
and I had been conducting weekly Bible studies there and
soldiers would come and go as their career paths brought them
to Fort Benning.
At the time, I was pastor of Midway United Methodist Church in
Columbus, Georgia. As I remember, Colonel Beer met with
Colonel Henry and his family at their quarters for mentoring
and Bible study over a period of several months. I remember
Colonel Henry was an ardent student of Scripture and the things
of God. A man after God’s own heart and caring for all those
within his sphere of influence.
During the time Colonel Henry was away from Fort Benning, he
and I had little contact except via group emails maintained by
Colonel Beer. However, beginning in 2022, Colonel Henry
began participating in the weekly virtual Bible studies hosted by
Colonel Beer and me. He has been faithful and diligent in his
studies. He contributes heartfelt insights and wise counsel to our
group.
Mike has shared he is about to sentenced by yourself in this
federal case. I can attest this behavior is not the norm and is an
exception not to be expected from him in the future. He loves
the Lord, has great faith, character and integrity. His
willingness in helping all those around him both with time,

                                       16
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 18 of 21 PageID#
                                      192




compassion and finances is an example for all. He is very
sincere, contrite and regrets this whole situation. His 30 years of
service and sacrifice to our nation is truly outstanding. Five
bronze stars and 8 hard combat deployments overseas with the
nations national mission force has proven his mettle and giving
spirit to our country and community. He has paid a price
physically, emotionally and mentally from his service, but has
overcome this through his faith in the Lord
Over the years that I have known him, he has earned a sincere
personal respect from me because of his wisdom and candid
humble contributions to our group. He has a profound faith in
our Savior Jesus Christ and His Church. Michael understands
his mistakes, demonstrates sincere regret.
I am asking for grace and mercy in your sentencing of Michael.
He of course will accept and do all required by the court. He
still has much to offer to our country, community and his family
in his giving and caring spirit. Please be merciful and lenient in
your sentencing.
I thank God for allowing Colonel Henry to return to our group
and to enter into my life.
Sincerely,


Paul Buckhiester,
Pastor,
Shellman Methodist Church and Trinity Church
Shellman, Georgia




                                       17
Case 2:24-cr-00111-RAJ-LRL   Document 31-1   Filed 05/01/25   Page 19 of 21 PageID#
                                      193




                                       18
Case 2:24-cr-00111-RAJ-LRL            Document 31-1          Filed 05/01/25       Page 20 of 21 PageID#
                                               194




     Dear Judge Jackson,

     I am writing to provide character reference for Michael Henry. My name is Kristine DeVoge and I
     have been a Pharmacist in Virginia Beach for 27 years. I know Mike as a common friend from
     my neighbors, who have become trusted friends over the years. Our common friends are from
     the               community where he served, supported and fought with.

     Michael and I have been friends for 7 to 8 years. During this time Michael has shown how
     selfless and kind he is by assisting me and my 2 sons while I was undergoing serious and
     lifesaving medical treatment and unable to drive. I have a special needs son with down
     syndrome, who requires constant supervision and care, which often exceeds and goes beyond
     my own ability due to work and health. Michael has always been so kind and generous taking
     us out to dinner, spending time and caring when others didn’t or have time. He has always
     been very thoughtful, intuitive and recognized when things were challenging and gave me the
     much-needed encouragement and help to persevere through many difficult days.

     His dedication to family and friends is unparalleled. Mike often puts the needs of his friends and
     family before his own. His eyes are always open to anyone in need regardless of who they are
     or where they are from. Mike’s willingness to help everyone has made him a critical piece of
     our lives and others. This can be seen through the years in his dedicated service to our country.
     He deployed over 7 times to hard combat tours in Afghanistan, Iraqi, Syria and other locations
     supporting special mission units. He constantly put himself in harm’s way, sacrificing his own
     quality in life in the future. His combat injuries still have impacts on him, yet he pushes through
     and still consistently helps others. I am exceptionally grateful for the support and assistance
     Mike has given to me and my 2 young sons. My life would look very different without him
     around

     I respectfully ask the court to take into consideration his strong moral character and past
     contributions when deciding his case. This unfortunate incident is not a reflection of who Mike is
     and I can promise you Michael will never do anything like this again. He will respect the court's
     decisions, fulfill any sentence issues and continue to be a light to our community. Please show
     mercy and grace to him as he goes before you. Thank you for your time and consideration.
     Please feel free to contact me if you need any information.



     Sincerely,
     Kristine M. DeVoge, RPh.




                                                     19
Case 2:24-cr-00111-RAJ-LRL     Document 31-1     Filed 05/01/25   Page 21 of 21 PageID#
                                        195




                                                                  March 10, 2025

Dear Judge Jackson,

My name is Bryan Harris, and I’ve had the privilege of knowing Michael Henry
for over fifteen years. Mike and I first met through mutual friends in the Army, and
our bond quickly deepened through shared values, our faith, and our shared
commitment to service and community. Over the years, Mike has become one of
my most trusted friends — a brother in every sense of the word.

We’ve served together and worked side by side in countless events and veteran
support initiatives. I’ve witnessed firsthand Mike’s deep compassion, unwavering
integrity, and fierce dedication to others. He’s the kind of man who shows up
without being asked —whether it’s to help a neighbor with a project, support a
friend, or quietly offer assistance to someone in need. He leads not for recognition,
but because it’s simply who he is.

I understand that Michael is coming before you for sentencing. Knowing Mike, I
can only believe that this situation is a rare and unfortunate misstep — completely
out of character for the man I’ve come to respect and admire. In my experience,
he’s always conducted himself with honesty, humility, and strength of character.

Knowing Mike as I do, I can say with certainty that he recognizes the gravity of the
situation and is deeply remorseful. I respectfully ask you to grant him the
opportunity to continue serving his community from home. Mike has so much
more to give, and I believe with all my heart that he will meet every condition and
expectation set forth by the Court.

Sincerely,




Bryan Harris




                                           20
